                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                       ) Case No. 1:17-cr-23-7
                                                )
 v.                                             ) District Judge Curtis L. Collier
                                                )
 PHILLIP HOOTON                                 ) Magistrate Judge Christopher H. Steger

                                            ORDER

         United States Magistrate Judge Christopher H. Steger filed a report and recommendation

 (Doc. 204) recommending that the Court: (1) grant Defendant’s motion to withdraw his not

 guilty plea to a lesser included offense of Count One of the thirteen-count Superseding

 Indictment; (2) accept Defendant’s guilty plea to a lesser included offense of Count One of the

 thirteen-count Superseding Indictment; (3) adjudicate Defendant guilty of conspiracy to

 distribute and possess with intent to distribute more than 50 grams of a mixture and substance

 containing a detectable amount of methamphetamine in violation of Title 21 United States Code

 §§ 841(a)(1), 841(b)(1)(B) and 846; and (4) order that Defendant remain in custody until further

 order of this Court or sentencing in this matter. Neither party filed a timely objection to the

 report and recommendation. After reviewing the record, the Court agrees with Magistrate Judge

 Steger’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

 magistrate judge’s report and recommendation (Doc. 204) pursuant to 28 U.S.C. § 636(b)(1) and

 ORDERS as follows:

      1. Defendant’s motion to withdraw his not guilty plea as to Count One of the thirteen-count

         Indictment is GRANTED;

      2. Defendant’s plea of guilty to Count One of the thirteen-count Indictment is

         ACCEPTED;




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    3. Defendant is hereby ADJUDGED guilty of conspiracy to distribute and possess with

       intent to distribute more than 50 grams of a mixture and substance containing a detectable

       amount of methamphetamine in violation of Title 21 United States Code §§ 841(a)(1),

       841(b)(1)(B) and 846;

    4. A decision on whether to accept the plea agreement is DEFERRED until sentencing; and

    5. Defendant SHALL REMAIN in custody until further order of this Court or sentencing in

       this matter, which is scheduled to take place on March 21, 2018, at 2:00 p.m. before the

       undersigned.

       SO ORDERED.

       ENTER:


                                                   /s/
                                                   CURTIS L. COLLIER
                                                   UNITED STATES DISTRICT JUDGE




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